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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                                                                           FILED
                             MISSOULA DIVISION                               MAY 0 7 2018
                                                                         Cle~, (!.S District Court
                                                                           District_Of Montana
  TANYA GERSH,                                                                  MISSOula

                                                       CV 17-50-M-DLC-JCL
                         Plaintiff,

      vs.                                               ORDER

  ANDREW ANGLIN,

                         Defendant.

       United States Magistrate Judge Jeremiah C. Lynch entered his Findings and

Recommendations in this case on March 21, 2018, recommending that Defendant

Andrew Anglin's ("Anglin") Motion to Dismiss be denied to the extent it seeks

dismissal for lack of subject matter jurisdiction pursuant to Rule 12(b)( 1) and for

lack of personal jurisdiction based on insufficient service of process pursuant to

Rule 12(b)(5).      Anglin failed to timely object to the findings and

recommendations, and so waived the right to de novo review of the record.            28

U.S.C. § 636(b )(1 ).    The Court will therefore review the record for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981 ).

       After reviewing the record and finding no clear error, the Court agrees with

Judge Lynch that Anglin's Motion to Dismiss shall be denied pursuant to Rule
                                           -1-
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12(b)(1) and Rule 12(b)(5).

      Accordingly, IT IS ORDERED that Judge Lynch's Findings and

Recommendations (Doc. 75) are ADOPTED IN FULL.

      DATED this   -=f ~day of May, 2018.



                                            Dana L. Christensen, Chief Judge
                                            United States District Court




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